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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CHARLES M. KOPPERMAN,                        )
                                             )
             Plaintiff,                      )
                                             )
        v.                                   ) Civil Case No. 19-3224 (RJL)
                                             )
UNITED STATES HOUSE OF                       )
REPRESENTATIVES, et al.,                     )
                                             )
             Defendants.                     )


                                      ORDER

                          Decembc1~l~~kt. ##40, 41, 43]

      For the reasons set forth in the accompanying Memorandum Opinion, it is hereby

      ORDERED that defendants' motions to dismiss [Dkt. ##40, 41] are GRANTED,

and plaintiffs motion to add the Sergeant-at-Arms of the United States House of

Representatives as a co-defendant LDk( #43] is DENIED as MOOT.

      SO ORDERED.




                                             ~J.~
                                             United States District Judge
